      Case 1:17-cr-20865-RAR Document
                                 CO U 14RT
                                         Entered
                                           M INonUTES
                                                  FLSD Docket 06/27/2019 Page 1 of 1Pa
                                                                                     ge1
                            M agistrate Judge Lisette M arie Reid
              AtkinsBuildingCourthouse-3rd Floor         Date:6/27/2019 Time:10:00a.m.
Defendant:NADER M OHAM AD FARHAT J#:18215-104 Case#:17-20865-CR-MOORE(s)
AUSA: Flclseat.Tl1d<uc                               Attorney:DAVIDRABIN(TEMP)
violation: CONSPIRACY TO CO M M IT M ONEY LAUNDERING
Proceeding: ReportreCounsel/Arraignment/Detention CJA Appt:
Bond/PTD Held:C Yes C No         Recommended Bond:TEM PPTD
Bond Setat:                                                 Co-signed by:
 Nr surrenderand/ordonotobtainpassports/traveldocs                 Language:Spanish
 C ReporttoPTSas directed/or       x'saweek/monthby                Disposition:
   phone:      x'saweek/monthinperson
 r Random urinetestingbyPretrialServices                           -     * #FJ x) -Jr V        *'
     Treatm entas deem ed necessary
 C Refrain from excessive use ofalcohol
 1- Participate in mentalhealth assessm ent& treatment
 T Maintainorseekfull-timeemployment/education
 T- Nocontactwithvictims/witnesses
 1- No firearm s
 T   Notto encum berproperty
 f- M ay notvisittransportation establishm ents
 r- HomeConfinement/ElectronicMonitoringand/or
     Curfew             pm to          am ,paid by
 r   Allowances:Medicalneeds,courtappearances,attorneyvisits,
     religious,em ploym ent
 r- Travelextended to:                                                '
 r Other:                                                           from Speedy TrialClock
NEXT COURT APPEARANCE Date:               Tim e:          Judge:                      Place:
ReportRECounsel:        # C4'
PTD/BondHearing'
               .                            /0 ,
                                               .00                                   '
Prelim Arraign rRemoval'
                       .        $
status conference RE:
